        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 1 of 28




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Kent Bowen, individually and on         Case No:
behalf of others similarly situated,
                                        CLASS ACTION COMPLAINT
             Plaintiff,
      vs.                               DEMAND FOR JURY TRIAL
Porsche Cars N.A., Inc.
             Defendant.



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        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 2 of 28




      Plaintiff Kent Bowen, individually and on behalf of others similarly situated,

brings this class action lawsuit against Defendant Porsche Cars, N.A., Inc.

(“Porsche” or “Defendant”) and alleges as follows:

                                   INTRODUCTION

      1.     This case arises from a software update that caused permanent damage

to the Porsche Communication Management (“PCM”) unit—an “infotainment”

system by which drivers may access music, navigation tools, etc.—in thousands of

vehicles distributed by Porsche.

      2.     Around May 21, 2020, many Porsche owners’ PCMs began

malfunctioning. Specifically, the vehicle’s PCM would continuously reboot,

meaning that it would activate and deactivate on an almost constant basis. This

prevented Porsche owners from using the PCM or otherwise enjoying their vehicles,

drained their car batteries, destroyed their PCM hard drives, and caused countless

other inconveniences (hereafter, “the Malfunction”).

      3.     The Malfunction was caused by a remote digital signal carrying a

software or firmware update to Porsche vehicles which, on information and belief,

originated either from Porsche itself or, from satellite radio provider Sirius XM

Radio at Porsche’s direction or with Porsche’s facilitation (hereafter, “the Update”).

The Update related to the Sirius satellite radio functionality of the PCM. No one


                                          1
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 3 of 28




obtained Plaintiff’s permission to send the Update to his vehicle, and Plaintiff is not

even a Sirius satellite radio subscriber.

      4.     Plaintiff, on behalf of himself and others similarly situated, seeks

damages and appropriate equitable relief from Defendant’s misconduct.

                                      PARTIES

      5.     Plaintiff Kent Bowen is, and at all times relevant was, a resident of

Columbus, Ohio. Plaintiff Bowen owns a 2011 Porsche Panamera.

      6.     Defendant Porsche Cars N.A., Inc. is a Delaware corporation

headquartered in Atlanta, Georgia.

                          JURISDICTION AND VENUE

      7.     This matter in controversy exceeds $5,000,000, as each member of the

proposed Class of thousands may be entitled to thousands of dollars in damages,

exclusive of interest and costs. Further, Plaintiff alleges a national class, which will

result in at least one Class member belonging to a different state. Therefore, both

elements of diversity jurisdiction under the Class Action Fairness Act of 2005

(“CAFA”) are present, and this Court has jurisdiction pursuant to 28 U.S.C.

§ 1332(d)(2).




                                            2
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 4 of 28




      8.     Additionally, Plaintiffs state claims under the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030, et seq. This Court therefore has federal-question

subject-matter jurisdiction of this action pursuant to 28 U.S.C. § 1331.

      9.     Porsche is subject to personal jurisdiction in this Court because

Defendant is headquartered here, and because it engages in substantial, continuous,

systematic, and non-isolated business activity within the state of Georgia.

      10.    Venue is proper within this District because a substantial part of the

events giving rise to the claims occurred in this District, namely that Porsche either

transmitted the software update to Porsche vehicles, or made the decision facilitate

Sirius’s doing so, from its Atlanta headquarters.

                           FACTUAL ALLEGATIONS

I.    Defendant’s Misconduct

      A.     The Business Relationship Between Porsche and Sirius

      11.    Porsche is a distributor of luxury vehicles, and it represents to

consumers that they should expect a product “renowned for performance, quality,

engineering, and innovation”—an image which Porsche’s relationship with Sirius, a

purveyor of premium radio content, is intended to bolster.1


1
        See Porsche Selects XM as Exclusive Satellite Radio Provider Under New,
Long-Term Agreement, SIRIUSXM (Oct. 30, 2006),
http://investor.siriusxm.com/investor-overview/press-releases/press-release-

                                          3
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 5 of 28




      12.   Porsche sells approximately 60,000 vehicles per year in the United

States. Most of them come equipped with a satellite radio antenna, and all of them

equipped with a PCM. In the past, Porsche has equipped different vehicles with

different versions of the PCM. For the model year vehicles implicated by this action

Porsche was, on information and belief, equipping vehicles with PCM 3.0 or 3.1.

      13.   Porsche employs engineers and other professionals to accomplish

design and manufacturing work on its vehicles, including among them AI Engineers,

Mobile Engineers, and Software Engineers.           Because Porsche has warranty

commitments and regulatory obligations, Porsche also employs such personnel to

conduct quality control, including monitoring vehicle performance, developing

updates and improvements, identifying defects, and troubleshooting those defects

when they arise.

      14.   When Porsche identifies a defect and understands how to repair or

mitigate the defect, Porsche communicates to local dealerships about the defect,

including the troubleshooting or repair steps Porsche recommends.

      15.   Sirius is a leading satellite radio provider, offering drivers the ability to

subscribe to more than 300 radio channels, including customizable music, news,



details/2006/Porsche-Selects-XM-as-Exclusive-Satellite-Radio-Provider-Under-
New-Long-Term-Agreement/default.aspx.

                                          4
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 6 of 28




comedy and sports content. Sirius uses a number of satellites to broadcast content

almost everywhere in the United States, providing a more consistent and higher

quality signal than typical radio programming.

      16.    Porsche and Sirius have a longstanding business relationship, dating

back to 2004.2 As part of their business relationship, Porsche allows and facilitates

distribution of Sirius products—including hardware and software for satellite radio

programming—for Porsche vehicles.3

      17.    Porsche profits from distributing Sirius products to Porsche vehicles

and benefits financially from this arrangement. Porsche vehicles were sold with free

trials of Sirius service, which further benefited Porsche financially, as the

opportunity to obtain Sirius services in Porsche’s vehicles enhances the desirability

and value proposition of Porsche vehicles.

      B.     The PCM Update

      18.    The PCM, which is standard in all Porsche models, is the central control

unit for all infotainment applications—including radio, disc operation, sound



2
       Porsche to Offer Factory-Installed XM Radio on Three Porsche Models,
SIRIUSXM (July 13, 2004), http://investor.siriusxm.com/investor-overview/press-
releases/press-release-details/2004/PORSCHE-TO-OFFER-FACTORY-
INSTALLED-XM-RADIO-ON-THREE-PORSCHE-MODELS/default.aspx.
3
       Porsche Announces SIRIUS Satellite Radio Offering, SIRIUSXM (July 13,
2004), http://investor.siriusxm.com/investor-overview/press-releases/press-release-
details/2004/Porsche-Announces-SIRIUS-Satellite-Radio-Offering/default.aspx

                                         5
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 7 of 28




settings, on board computer, navigation and telephone.          The PCM’s color

touchscreen puts myriad features at the driver’s fingertips.

      19.    Through the PCM interface, Porsche owners have the ability to

customize their driving experience by adjusting radio and sound preferences,

accessing content on connected mobile devices, sending and receiving text messages

and telephone calls, displaying real time traffic and road condition alerts, and

utilizing sophisticated, turn-by-turn GPS navigation services. The PCM is also

interactive, permitting drivers to issue verbal commands which the PCM computer

responds to in real-time.

      20.    Proper functionality of the PCM’s data processing and communication

capabilities is important to the operation and enjoyment of Porsche vehicles.

      21.    The PCM for the affected Porsche vehicles stores its programming

information on a disk contained within a hard drive.

      22.    As the manufacturer of the vehicles, Porsche has the technical capacity

to update software in Porsche vehicles, ostensibly to ensure they are operating

optimally.

      23.    Around Memorial Day 2020, Sirius provided promotional content to all

owners of a Porsche vehicle equipped with a satellite radio antenna. In connection

with the Memorial Day promotion, on information and belief, Porsche either


                                          6
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 8 of 28




transmitted, or facilitated Sirius’s transmission of, the Update to all eligible Porsche

vehicles around May 21, 2020, regardless of whether the owner was a Sirius

customer. The Update was transmitted to vehicles remotely and without advance

notice to, or permission from, drivers.

      24.    On information and belief, all Porsche vehicles with a satellite radio

antenna and PCM system 3.0 or 3.1 were affected by this Malfunction, including,

but not limited to, the Panamera, Cayenne, 911 Macan, Cayman, and Boxster for

model years 2010 through the present.

      25.    On information and belief, all affected vehicles received the Update,

regardless of whether the owner was a Sirius customer.

      26.    The Update was defective, in that it could not write over existing

software on the PCM hard drive.

      27.    The Update caused the same Malfunction: the PCM entering a near-

continuous reboot cycle, draining the vehicle’s battery, damaging the PCM hard

drive, depriving the owner of the ability to enjoy his vehicle, causing an irritating

and potentially dangerous “static” noise, and resulting in numerous other significant

problems.




                                           7
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 9 of 28




      28.    If Porsche had adequately tested the Update prior to transmitting it, or

facilitating its transmission, to the vehicles, the Malfunction would have been

detected before it affected Porsche vehicles.

      29.    Malfunctions caused by software updates are not new. Indeed, a 2018

Sirius-related software update caused a substantially similar malfunction in

Chrysler, Dodge, and Ram products.4 On information and belief, these malfunctions

resulted in issuance of technical service bulletins and other public reporting to which

Porsche had access.

      30.    Porsche knew or should have known that Sirius-related software

updates could put its customers at similar risk, yet Porsche either itself transmitted,

or facilitated Sirius’s transmission of the updates to Porsche vehicles all the same

and without taking appropriate steps to vet the Update.

C.    Customers’ Response to the Malfunction

      31.    Almost immediately after the Update, Porsche owners began

complaining about the Malfunction on various online forums accessible to Porsche.

The following examples are representative:



4
       Mary Conway, Ram Trying to Fix Continuous Uconnect Reboot Problem in
2018 Rams, TORQUE NEWS (Feb. 15, 2018),
https://www.torquenews.com/3768/ram-trying-fix-continuous-uconnect-reboot-
problem-2018-rams.

                                          8
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 10 of 28




            a.    Apparently @SIRIUSXM broke my car with an update. Every
                  two minutes the PCM (radio, gps, etc.) is rebooting. Searching
                  the interwebs turned up a lot of upset @Porsche owners.5
            b.    I think Porsche has been hacked. My PCM keeps randomly
                  rebooting itself.6
            c.    2011 Panamera Base, today PCM started shutting off while car
                  running. Display goes blank, then get Porsche splash screen, then
                  liability screen. Stays on for about 2.5 minutes and "reboots"
                  again. Drove home about 30 minutes and like clockwork every
                  2+ minutes. I input active navigation to my house just to see and
                  it retains the active navigation upon reboot. An enigma wrapped
                  in a riddle. 78K miles, latest PCM software and maps done in
                  2019. Nothing is connected (USB, phone, etc.).
                  Looked online and there are fresh reports today on other sites of
                  this same activity. Here's one from 6 Speed online posted today.
                  "ATTENTION TO ALL!!
                  Talked to my dealership multiple time about PCM reboot that
                  started yesterday evening.
                  Bob in Louisville (Nice guy in service) stated "XM Sat Radio put
                  out an update that is causing ALL Porsche cars with PCM to
                  have this reboot ever 2 min"!! I won't bore you with to many
                  detail, but from what I know about how XM sends updates, I
                  believe it!!!
                  My indi shop in Lex KY is also getting lots of calls... " and
                  another owner same thread, "Happened to me today on the way
                  home from work!!!!! This is crazy!!!!"
                  I'll see how it goes. Nut farm...7

5
       Dale Watts (@tdwatts), TWITTER (May 24, 2020, 8:50 PM),
https://twitter.com/tdwatts/status/1264720480084377601.
6
       Laurie Bailey Vaughn (@LaurieBailey), TWITTER (May 21, 2020),
https://twitter.com/LaurieBailey/status/1263501879209791489.
7
       smithsor, REENLIST.COM (May 21, 2020, 5:46 PM),
https://rennlist.com/forums/panamera/1195476-pcm-restarting-xm-radio-
fault.html.

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       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 11 of 28




            d.    Same over here (and two others I know locally). If I am on a call
                  when it does this the phone will disconnect. Also, it will also
                  come back to what I was listening when it originally happened
                  (Howard 100) regardless what I am listening on regular radio or
                  on Sirius/XM. The Service Manager at the dealership stated he
                  had a few calls about this as well and that he thought at this point
                  that it could be a corrupted file that was downloaded by
                  Sirius/XM. Would be very interesting to hear if it is happening
                  to anyone without Sirius/XM service.8
            e.    After Sirius XM signal activated, PCM reboots every 5 minute -
                  seems as software glitch, calling a dealer in Houston, service guy
                  stated you are probably #52 calling today about this problem,
                  hope PORSCHE can look into this - as for this moment he stated
                  NO idea what to do....9
            f.    Yep just talked to my SA.
                  There is a notice out to all dealerships about this, all dealers I
                  guess are on the wait to hear back from Corporate to hear back
                  on the outcome from their checks. My guess is this is probably
                  only affecting older vehicles that don't have the on-air updates?
                  after XM updated their part, it messed with Porsche's system as
                  Porsche wasn't updated to match XM update? Most likely
                  Porsche will have to make updates on their systems and manually
                  update PCMs to match......truly P.I.T.A.10
            g.    Mine started doing it this AM too. Is there any way to turn off
                  the PCM so the battery doesn't drain all day? I literally am just
                  seeing this but have to drive to an appointment... hope my car
                  still starts. There's a thread in the Cayenne forum as well, so not
                  just 911s it seems!11

8
       shammerman, REENLIST.COM (May 21, 2020, 1:21 PM),
https://rennlist.com/forums/991/1195409-pcm-issue-with-recent-ios-update.html.
9
       Max9889, REENLIST.COM (May 21, 2020, 11:02 PM),
https://rennlist.com/forums/panamera/1195476-pcm-restarting-xm-radio-
fault.html.
10
       2010panny4S, REENLIST.COM (May 21, 2020, 2:16 PM),
https://rennlist.com/forums/991/1195409-pcm-issue-with-recent-ios-update.html.
11
       RSBro, REENLIST.COM (May 21, 2020, 4:04 PM),

                                        10
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 12 of 28




      32.    For affected Porsche vehicles, the approximate cost of replacing a

malfunctioning PCM is between $2,000 and $4,000 dollars, and the approximate

cost of replacing a car battery is about $600. Porsche has typically not agreed to

provide these repairs for free, and vehicle owners and lessees have thus borne the

costs instead.

      33.    The Malfunction is ongoing, as Porsche has not provided Plaintiff or

the Class with a complete, permanent solution. Class members have been forced to

choose between paying to replace their PCMs on the one hand and suffering ongoing

inconvenience and property damage as a result of the malfunction on the other.

Moreover, members of the Class are concerned that Porsche will not prevent

delivery of defective and unauthorized software updates in the future, a concern that

could also impact the value of their vehicles on resale.

      D.     Defendant’s Response to the Malfunction

      34.    Porsche     acknowledged      the    Malfunction    through     internal

communications with its dealers, many of whom have relayed that information to

Porsche customers.




https://rennlist.com/forums/991/1195409-pcm-issue-with-recent-ios-update.html.

                                         11
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 13 of 28




      35.    In its internal communications, Porsche informed its dealers of

potential solutions—a “handover,” or a “hard reset” of the PCM settings—but these

did not completely or permanently resolve the malfunction, nor do they account for

the permanent damage the Malfunction had already caused.12

      36.    In response to an overwhelming number of complaints, a Porsche

dealer—who was in communication with Porsche—informed drivers that a Sirius-

related update had “caused major functional issues with the PCM (Center

Touchscreen) affecting virtually all Porsche vehicles. If your Porsche PCM has

started malfunctioning the Sirius XM update is likely the issue.”13

      37.    Porsche has not compensated its customers for costs of repairs or

replacements for damage caused by the Malfunction, despite its knowledge of how

many consumers had been affected.

      38.    Many Porsche owners demanded that Porsche and Sirius stop

transmitting to their vehicles, but both were unwilling or unable to do so. The

following complaints are representative:

             a.    Its been over 24 hours and the signal is still being sent and I still
                   have access to FREE sirius radio. So much for demanding the
12
       Porsche Communication Management (PCM) Rebooting Issues, PORSCHE
ENGLEWOOD (May 22, 2020), https://www.porscheenglewood.com/porsche-
communication-management-pcm-rebooting-issues.
13
       Porsche PCM Update, BYERS IMPORTS PORSCHE,
https://www.byersporsche.com/porsche-pcm-update.htm.

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       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 14 of 28




                  signal STOP. So frustrating!! So I still have the old PCM in with
                  the rebooting still going on. Have reached out once again
                  yesterday to PCNA "customer relations" about trying to find a
                  more mutually agreeable plan to replace the PCM. No response
                  yet. I was so looking forward to trying the "handover reset" once
                  again after Sirius promised that I would have no signal going to
                  PCM today - but low and behold my request fell on deaf ears. ...
                  I will def follow up if I have any better news. - Thanks for
                  reaching out.14
            b.    Update: Another hour wasted with SXM support > Tech Support
                  > Escalated ticket filed. Still receiving all SXM channels over
                  ONE MONTH after canceling service. They are absolutely no
                  help. Mouth breathers. Not asking them to solve the reboot loop
                  issue, just cut off the service so we can check off that box in
                  troubleshooting. Wanted to charge me to re-activate and then try
                  de-activating (my suggestion, they had no ideas whatsoever). I
                  hung up.
                  Took matters in my hands. Yanked the PCM. Disconnected the
                  SXM antenna. Vehicle handover procedure, pulled the fuse, let
                  it set. Fired back up... and... still reboot loop.
                  Pulled HDD from PCM, and... reboot loop stopped. Ok. That's
                  something we can work with.
                  Now digging through the long threads on how to replace the
                  HDD. There is a lot of noise on those threads - things tried, then
                  failed. Not yet clear to me which exact HDD replacement model
                  works in the 3.1. Will keep digging, but at least a step closer. No
                  thanks to SXM or Porsche. Rennlist to the rescue.15
            c.    Called Sirius.



14
       LaVista7615, REENLIST.COM (June 25, 2020, 5:23 PM),
https://rennlist.com/forums/cayenne-958-2011-2018/1195303-pcm-rebooting-
every-2mins-2015-cs-21.html.
15
       Mike Murcia, REENLIST.COM (July 10, 2020, 8:46 PM),
https://rennlist.com/forums/panamera/1195476-pcm-restarting-xm-radio-fault-
7.html.

                                        13
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 15 of 28




                  They said that the “free” subscription that I am receiving is part
                  of a promotion that started in late June and runs through July 8t
                  [sic]
                  LaVista7615, do you know how long you have been receiving
                  stations from XM?
                  Others?
                  For whatever reason, they can activate a subscription but they
                  can't deactivate a free promo so there is no way of turning off the
                  XM connection to our car to determine if that is causing the
                  problem.
                  Here were the suggested solutions from XM:
                        1. Wait until the free subscription ends
                        2. To take the car to an authorized repair center and have
                        them disconnect the XM Module
                  They also suggested completing the following form to
                  report/escalate the problem:
                  https://listenercare.siriusxm.com/app/unresolved_issue16
      39.   There is no indication that Porsche has modified its business practices

with respect to updates nor has Porsche offered appropriate remuneration to its

victims.

II.   Plaintiff’s Experience

      40.   In 2012, Plaintiff purchased a used 2011 Porsche Panamera for

$85,000.




16
       JRoach, REENLIST.COM (July 3, 2020, 6:33 PM),
https://rennlist.com/forums/cayenne-958-2011-2018/1195303-pcm-rebooting-
every-2mins-2015-cs-21.html.

                                        14
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 16 of 28




      41.    Plaintiff’s vehicle was equipped with a PCM and a satellite radio

antenna.

      42.    Although Plaintiff is not a Sirius customer, Porsche or, with Porsche’s

facilitation, Sirius transmitted the Update to his PCM around May 21, 2020.

      43.    Shortly after his vehicle received the Update, the PCM in Plaintiff’s

vehicle began malfunctioning. Specifically, the PCM would reboot approximately

every two to ten minutes, regardless of whether the engine was turned on. Every

time the PCM rebooted, it emitted a loud static sound, which made it uncomfortable

and potentially dangerous to drive the vehicle for any length of time.

      44.    As a result of the Malfunction, Plaintiff was unable to access the

features of his PCM, his car battery degraded, and his PCM hard drive was

permanently damaged, along with numerous other significant problems. Moreover,

Plaintiff never consented to receiving the Update and thus suffered an unauthorized

invasion into his PCM depriving him of full utility of his vehicle.

      45.    On June 28, 2020, Plaintiff brought his vehicle to his local Porsche

Dealer, Byers Imports, LLC, for repair. Plaintiff was informed that his hard drive

had been irreparably damaged by the reboot cycles, and he would need to replace

the PCM entirely. Additionally, the Byers Imports service department informed

Plaintiff that the malfunction was caused by a faulty software update.


                                         15
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 17 of 28




      46.    Plaintiff authorized the replacement on July 3, 2020. He was unable to

use his vehicle until the replacement was complete, more than two months later.

      47.    On September 16, 2020, Byers Imports finished replacing Plaintiff’s

PCM. Plaintiff was billed $3,270.78, which he paid, and no part of which has been

reimbursed by Porsche. (Exhibit A).

      48.    Because of the Update and resulting Malfunction, Plaintiff was required

to devote 5-10 hours of his time to communicating with dealership personnel and

otherwise attending to the diagnosis and repair of his vehicle. This required Plaintiff

to devote time to the Malfunction that he otherwise would have spent working,

costing him at least $2,000 beyond what he spent on the repair cost.

                       CLASS ACTION ALLEGATIONS

      49.    Plaintiff seeks certification of a Class defined to include:

             All entities and individuals who, on the date the Update was
             transmitted, owned or leased a Porsche vehicle equipped with
             an XM radio antenna and Porsche Communication
             Management (PCM) system 3.0 or 3.1 that received the
             Update.

      50.    Excluded from the Class are Defendant and its employees, officers,

directors, legal representatives, successors and wholly or partly owned subsidiaries

or affiliated companies; class counsel and their employees; and the judicial officers

and their immediate family members and associated court staff assigned to this case.


                                          16
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 18 of 28




       51.   The Class can be readily identified from Porsche’s records relating to

vehicle sales, warranties, and contact information used for effecting recalls.

I.     Numerosity

       52.   Porsche sells approximately 60,000 vehicles in the United States per

year, most of which are equipped to receive satellite radio.17

       53.   On information and belief, the Class includes at least thousands of

Porsche owners. Porsche’s and Sirius’s records will reveal the total number of Class

members with greater precision.

II.    Typicality

       54.   Plaintiff’s claims are typical of the claims of the Class. Plaintiff, like all

members of the Class, owns a Porsche vehicle that received the Update. Plaintiff,

like other Class members, thus had his vehicle and PCM accessed without

permission in a manner that damaged his vehicle and PCM.

III.   Adequacy of Representation

       55.   Plaintiff will fairly and adequately protect the Class’ interests and has

retained counsel competent and experienced in class-action litigation. Plaintiff’s

interests are coincident with, and not antagonistic to, absent Class members’


17
       Porsche Posts Record U.S. Retail Sales in 2019, PORSCHE (Jan 3, 2020),
https://newsroom.porsche.com/en_US/company/porsche-posts-record-us-retail-
sales-in-2019-01032020.html.

                                           17
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 19 of 28




interests because, by proving his individual claims, he will necessarily prove the

liability of Porsche to the Class as well. Plaintiff is cognizant of, and determined to,

faithfully discharge his fiduciary duties to the absent Class members as their

representative.

      56.       Plaintiff’s counsel have substantial experience in prosecuting class

actions. Plaintiff and his counsel are committed to vigorously prosecuting this

action, have the financial resources to do so, and do not have any interests adverse

to the Class.

IV.   Commonality and Predominance

      57.       There are numerous questions of law and fact, the answers to which are

common to each Class and predominate over questions affecting only individual

members, including the following:


                a.    Whether Porsche transmitted, or facilitated transmission of, the
                      Update;

                b.    Whether the Update caused the Malfunction or damage to
                      Porsche vehicles or PCMs;

                c.    Whether Porsche owed a duty of care in connection with
                      transmitting (or facilitating the transmission of) the Update to
                      Class members’ vehicles;

                d.    Whether Porsche failed to use reasonable care in connection with
                      the Update;



                                           18
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 20 of 28




             e.    Whether Porsche transmitted (or facilitated transmission of) the
                   Update without first receiving consent from Class members;

             f.    Whether Porsche is liable for damages caused by the Update;

             g.    Whether Porsche’s alleged conduct violated the Computer Fraud
                   and Abuse Act;

             h.    Whether Plaintiff and Class members have been injured by
                   Porsche’s conduct and, if so, the determination of the appropriate
                   Class-wide measure of damages; and

             i.    Whether Porsche was unjustly enriched to the detriment of
                   Plaintiff and Class members, thereby entitling Plaintiff and Class
                   members to disgorgement of all benefits derived by Porsche.

V.    Superiority and Manageability

      58.    A class action is superior to other available methods for the fair and

efficient adjudication of this controversy because joinder of all the individual Class

members is impracticable. Moreover, the burden imposed on the judicial system by

individual litigation of the thousands of Class members’ claims would be enormous.

      59.    The prosecution of separate actions by the individual Class members

would also create a risk of inconsistent or varying adjudications. The conduct of this

action as a class action presents far fewer management difficulties, conserves

judicial resources and the parties’ resources, and protects the rights of each Class

member.




                                         19
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 21 of 28




                                      COUNT I

                           TRESPASS TO PERSONALTY

       60.    Plaintiff repeats and re-alleges the allegations in the paragraphs above

as if fully set forth herein.

       61.    Georgia law prohibits interference with the possession of, and unlawful

abuse or damage to, Plaintiff’s and Class members’ chattel or personalty.

       62.    Plaintiff’s and Class members’ Porsche vehicles, each of which

contained a PCM, are chattels or personalty.

       63.    Through Defendant’s conduct alleged herein, including transmitting or

facilitating transmission of the Update to Plaintiff’s and Class members’ PCMs,

Defendant interfered with possession of, and caused damage to, Plaintiff’s and Class

members’ Porsche vehicles and PCMs.            The Update, which Defendant either

transmitted or facilitated the transmission of, was intended to—and in fact did—

affect operation of the PCM in Plaintiff’s and Class members’ Porsche vehicles.

       64.    As alleged herein, Defendant’s conduct caused harm to Plaintiff and

Class members by, among other things, causing the PCM to enter a near-continuous

reboot cycle, draining the vehicle’s battery, damaging the PCM hard drive requiring

repair and replacement, and depriving the owner of the ability to enjoy their vehicle.




                                          20
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 22 of 28




       65.    Plaintiff and Class members suffered actual damages as a result of

Defendant’s conduct in an amount to be determined at trial.

                                     COUNT II

       VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT

                                 (18 U.S.C. § 1030)

       66.    Plaintiff repeats and re-alleges the allegations in the paragraphs above

as if fully set forth herein.

       67.    Plaintiff’s and Class members’ PCMs came equipped with, among

other things, cellular telephone connectivity and GPS capability which allows users

to engage in interstate and foreign commerce and communication. As such, the

PCMs qualify as “protected computers” as defined in the Computer Fraud and Abuse

Act.

       68.    Through Defendant’s conduct alleged herein, including transmitting (or

facilitating the transmission of) the Update to Plaintiff’s and Class members’ PCMs,

Defendant intentionally accessed a protected computer without authorization in

violation of 18 U.S.C. § 1030(a)(5)(C).

       69.    Through Defendant’s conduct alleged herein, including transmitting or

facilitating transmission of the Update to Plaintiff’s and Class members’ PCMs,




                                          21
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 23 of 28




Defendant intentionally accessed a protected computer without authorization, and

caused damage and loss in violation of 18 U.S.C. § 1030(a)(5)(C).

      70.    Through Defendant’s conduct alleged herein, including transmitting

and/or facilitating transmission of the Update to Plaintiff’s and Class members—

despite information that similar Sirius-related updates had caused malfunctions in

the past—Defendant intentionally accessed a protected computer without

authorization, and recklessly caused damage and loss in violation of 18 U.S.C.

§ 1030(a)(5)(B).

      71.    The Computer Fraud and Abuse Act, 18 U.S.C. § 1030(g), provides a

civil cause of action to “any person who suffers damage or loss” as a result of a

violation of the CFAA.

      72.    18 U.S.C. § 1030(e)(11) defines the term “loss” to “mean[] any

reasonable cost to any victim, including the cost of responding to an offense,

conducting a damage assessment, and restoring the data, program, system, or

information to its condition prior to the offense . . . .” 18 U.S.C. § 1030(e)(11)

further defines the term “loss” to include “any revenue lost, cost incurred, or other

consequential damages incurred because of interruption of service.” 18 U.S.C.

§ 1030(e)(8) defines “damage” as “any impairment to the integrity or availability of

data, a program, a system, or information.”


                                         22
        Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 24 of 28




       73.    By transmitting, or facilitating transmission of, the Update, Defendant

caused damage to Plaintiff’s and Class members’ PCMs, including continuous

reboot cycles which damaged the PCM hard drive, often requiring repair and

replacement. Because of Defendant’s unlawful conduct, Plaintiff and Class members

have expended time and suffered inconvenience in response to the effects of the

Malfunctioning and seeking to eliminate or repair the Malfunctioning and, in many

cases, have spent hundreds or thousands of dollars on repairs, including to replace

the PCM. Plaintiff and Class members have also sustained other consequential

damages, including loss of use of their vehicles, battery degradation, and other

inconveniences.

       74.    As a result of Defendant’s conduct, Plaintiff and class members

suffered damage and loss in excess of $5,000.

                                     COUNT III

                                  NEGLIGENCE

       75.    Plaintiff repeats and re-alleges the allegations in the paragraphs above

as if fully set forth herein.

       76.    Defendant owed a duty to refrain from depriving or interfering with

possession of, or otherwise causing damage to, Plaintiff’s and Class members’

personal property and chattel.


                                          23
         Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 25 of 28




         77.   In addition to the allegations set forth herein, Defendant breached these

duties and acted without the requisite care in at least the following respects:

               a. failing to notify and/or warn Plaintiff and Class members of the

                  potential risk of harm that the Update posed to their vehicles and

                  PCMs;

               b. transmitting, or facilitating transmission of the Update to Plaintiff

                  and Class members PCMs, despite knowledge that previous updates

                  had caused similar damage to vehicles;

               c. transmitting or facilitating transmission of the Update to all Porsche

                  vehicles without authorization and without regard to the fact that

                  Plaintiff and Class members were not satellite radio subscribers and

                  had no relationship with Sirius;

               d. transmitting or facilitating transmission of the Update which

                  damaged and/or destroyed the PCM hard drive;

         78.   Through the exercise of reasonable care the harm could have been

avoided or detected and corrected.

         79.   As a proximate result of Defendant’s lack of due care, Plaintiff and

Class members suffered harm as set forth herein in an amount to be determined at

trial.


                                           24
          Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 26 of 28




                                      COUNT IV

                             (UNJUST ENRICHMENT)

      80.     Plaintiff repeats and re-alleges the paragraphs above as if fully set forth

herein.

      81.     Plaintiff alleges this claim in the alternative to his legal claims and

asserts for the purposes of this claim that he lacks an adequate remedy at law.

      82.     Porsche acted unlawfully and in breach of its legal duties as set forth

above by, among other things, interfering with Plaintiff’s and Class members’

personal property and gaining access to the PCMs without authorization, when

causing the damage alleged herein.

      83.     Plaintiff and Class members have conferred a benefit upon Porsche,

including in connection with purchasing Porsche vehicles and by paying Porsche to

repair the damaged PCMs.

      84.     Despite Defendant’s unlawful conduct, Plaintiff and Class members

have not been compensated and Porsche has instead retained the benefits conferred

upon it.

      85.     The failure to compensate Plaintiff and Class members in this scenario

would be unjust.




                                           25
       Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 27 of 28




                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, hereby demand:

            a.     certification of the proposed Class;

            b.     appointment of the undersigned counsel as class counsel;

            c.     an order enjoining Porsche, as detailed above, from engaging any
                   further in the unlawful conduct set forth herein;

            d.     restitution and disgorgement of all profits wrongfully obtained;

            e.     an award to Plaintiffs and the Class of all damages, including
                   attorneys’ fees and reimbursement of litigation expenses,
                   recoverable under applicable law;

            f.     such other relief as this Court deems just and equitable.

                           DEMAND FOR JURY TRIAL
      Plaintiffs hereby demand a trial by jury on all applicable claims.



Dated: January 29, 2021            /s/
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                                         26
Case 1:21-cv-00471-MHC Document 1 Filed 01/29/21 Page 28 of 28




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                              27
